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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) CHAD EASTMAN,                )
                                 )
          Plaintiff,             )
                                 )
vs.                              )                    Case No. CIV-20-546-HE
                                 )
(1) UNITED STATES FIRE INSURANCE )
    COMPANY;                     )
(2) CRUM & FORSTER INSURANCE     )
    GROUP;                       )
(3) CRUM & FORSTER INSURANCE     )
    GROUP;                       )
(4) THE REDWOODS GROUP, INC.;    )
(5) MARKETERS GENERAL INS,       )
    AGENCY, INC.;                )
(6) CRUM & FORSTER INDEMNITY     )
    COMPANY;                     )
(7) FAIRFAX FINANCIAL HOLDINGS, )
    LIMITED;                     )
(8) THE PROGRESSIVE COMPANY; and )
(9) PROGRESSIVE INSURANCE        )
    COMPANY,                     )
                                 )
          Defendants.            )

                               NOTICE OF REMOVAL

      PLEASE TAKE NOTICE that Defendant, United States Fire Insurance Company

(“USFIC”), by and through its attorneys, Pierce Couch Hendrickson Baysinger & Green,

L.L.P., file this Notice of Removal pursuant to 28 U.S.C. §1441(a); 28 U.S.C. §1332(a);

and U.S.C. §1446, et. seq., to remove the above-captioned action to this Court from the

District Court of Oklahoma County, Oklahoma. In support of this Notice of Removal,

Defendants state as follows:
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                PLAIN STATEMENT OF GROUNDS OF REMOVAL

       1.      This is an action filed on or about May 15, 2020, in the District Court of

Oklahoma County, Oklahoma, being assigned cause number CJ-2020-2247. The Petition

is attached as Exhibit 1. Plaintiff, Chad Eastman (“Plaintiff” or “Eastman”) names as

defendants USFIC, as well as a group of other parties he refers to as Crum & Forster

Insurance Group, Crum & Forster Insurance Group (again), The Redwoods Group, Inc.,

Marketers General Ins,1 Agency, Inc., Crum & Forster Indemnity Company, Fairfax

Financial Holdings, Limited, the Progressive Company, and Progressive Insurance

Company (collectively, “Other Defendants”). (Ex. 1, Petition.)

       2.      Plaintiff alleges that he is entitled to uninsured or underinsured motorists

benefits under his prior employer’s auto insurance policy issued by USFIC. (Ex. 1, p. 1.)

A true and correct certified copy of that USFIC policy is attached hereto as Exhibit 2.

       3.      USFIC now timely removes based on diversity of citizenship as between

Oklahoma citizen Eastman and foreign citizen USFIC. Certain of the Other Defendants

may be citizens of Oklahoma (it appears that only one is). However, under established

law, as more fully set forth below, the citizenship of the Other Defendants should be

ignored for purposes of determining diversity, as they have been fraudulently joined.2




1
  [sic].
2
  The word “fraudulent” in this context is a “term of art” which “does not reflect on the
integrity of plaintiff or counsel.” Ferrell v. BGF Glob., LLC, No. CIV-15-404-D, 2015
WL 6438988, at *2 (W.D. Okla. Oct. 21, 2015) (citation omitted).
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                                       RESERVATION

       4.       This Notice of Removal is filed subject to and with full reservation of rights

by USFIC, including but not limited to all defenses and objections that this Defendant

might pursue.

                                       TIMELINESS

       5.       This Notice of Removal is timely filed in accordance with 28 U.S.C. §

1446(b) as it is filed within 30 days of receipt of the initial pleading and summons.

                              AMOUNT IN CONTROVERSY

       6.       The amount in controversy for diversity jurisdiction as set forth in 28 U.S.C.

§ 1332 is satisfied, as Plaintiff’s Petition claims his damages are “in excess of

$76,001.00(dollars).” (Ex. 1, p. 1.)

                             DIVERSITY OF CITIZENSHIP

       7.       This Court has diversity jurisdiction over this matter because the citizenship

of the plaintiffs and defendants, other than the fraudulently joined Other Defendants, are

entirely diverse pursuant to 28 U.S.C. § 1332.

       8.       Eastman is a natural person who is a resident, domiciliary and citizen of the

state of Oklahoma. His citizenship for diversity purposes is thus Oklahoma.

       9.       USFIC is a corporation organized under the laws of the state of Delaware

with its principal place of business in the state of New Jersey. Its citizenship for diversity

purposes is thus Delaware and New Jersey.




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                                         VENUE

       10.   The Western District of Oklahoma is the only federal court to which this

action is removable under 28 U.S.C. § 1441(a), as the action was pending in the District

Court of Oklahoma County, which is within this district.

                            COMPLIANCE WITH LCvR 81.2

       11.   A copy of the state court docket sheet is attached as Ex. 3 in accordance with

LCvR 81.2. Beyond the Petition (Ex. 1), there is one additional filing shown on the docket;

it is attached hereto as Exhibit 4. However, this document contains a caption and case

number from an entirely separate matter that appears to have no connection to either the

Plaintiff, USFIC, or counsel for either. It appears simply to have been placed into the

docket or coded into the electronic version of the docket maintained by the Oklahoma State

Courts Network, in error.

                              CONSENT TO REMOVAL

       12.   The consent of the Other Defendants is unnecessary by law as the Other

Defendants have not been “properly joined and served” pursuant to 28 U.S.C.A. §

1446(b)(2)(A), but, rather, have been fraudulently joined. Balazik v. Cty. of Dauphin, 44

F.3d 209, 213 (3d Cir. 1995). Even if not fraudulently named as parties, the docket sheet

suggests no other parties besides USFIC have been served, as no summons besides

summons to USFIC has been issued. Only served defendants must join in or consent to a

notice of removal. See First Nat. Bank & Tr. Co. in Great Bend v. Nicholas, 768 F. Supp.

788, 790 (D. Kan. 1991) (“The removal statute requires that all served defendants, except

nominal defendants, join in or consent…”) To the extent that the consent of any of the

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Other Defendants is deemed necessary, Removing Defendants pray for leave to obtain such

consent in timely fashion after removal.

             FRAUDULENT JOINDER OF THE OTHER DEFENDANTS

       13.    One of the Other Defendants is named in the caption of the Petition as

“Marketers General Ins, Agency, Inc.,” although referred to in the body of the Petition as

“Marketers General Insurance, Inc.” (Ex. 1, pp. 1-2.) On information and belief, each of

these designations are misnomers or scriveners errors, and Plaintiff instead intended to sue

Marketers General Insurance Agency, Inc. (“Marketers”). Marketers is the name of the

insurance agent for Plaintiff’s prior employer. (See, e.g., Ex. 2, Declarations, listing

“Agent Name and Address” as “Marketers General Ins. Agcy Inc., 6901 N. Robinson, Suite

A, Oklahoma City OK 73116.”) Marketers is a corporation organized under the laws of

the state of Oklahoma, and has its principal place of business in Oklahoma. For diversity

purposes, it is thus a citizen of Oklahoma. If Marketers were properly joined as a

defendant, such joinder would destroy diversity. However, as set forth below, Marketers

has been fraudulently joined.

       14.    One of the Other Defendants is Crum & Forster Indemnity Company. Crum

and Forster Indemnity Company is a corporation organized under the laws of the state of

Delaware and has its principal place of business in the state of New Jersey. The citizenship

of this entity would not destroy diversity. However, as set forth below, Crum & Forster




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Indemnity Company has been fraudulently joined so its citizenship is in any event

irrelevant.

       15.     One of the Other Defendants is Crum & Forster Insurance Group, named, for

unstated reasons, twice in a row in the caption. In the body of the Petition, “Crum & Forster

Insurance Group, Inc.” is referenced. On information and belief, there is neither any legal

entity with the name Crum & Forster Insurance Group, nor is “Crum & Forster Insurance

Group” a registered trade name, “d/b/a,” or the like, for a formal legal entity. On

information and belief, there is neither any legal entity with the name Crum & Forster

Insurance Group, Inc., nor is “Crum & Forster Insurance Group, Inc.” a registered trade

name, “d/b/a,” or the like, for a formal legal entity. Crum & Forster Insurance Group

and/or Crum & Forster Insurance Group, Inc. are thus: not a party, or in the alternative not

a proper party, or in the alternative a fictional party, or in the alternative a nominal party,

or in the alternative each lacks the capacity to be sued, or in the alternative each is otherwise

a party or purported party which does not have any citizenship capable of destroying

diversity. However, in any event, as set forth below, Crum & Forster Insurance Group

(and/or Crum & Forster Insurance Group, Inc.) has/have been fraudulently joined, so

its/their citizenship is in any event irrelevant.

       16.     One of the Other Defendants is the Redwoods Group, Inc. On information

and belief, the Redwoods Group, Inc. is a corporation organized under the laws of the state

of North Carolina, with its principal place of business in North Carolina. The citizenship

of this entity would not destroy diversity. However, as set forth below, the Redwoods

Group, Inc. has been fraudulently joined so its citizenship is in any event irrelevant.

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       17.    One of the Other Defendants is Fairfax Financial Holdings, Limited. On

information and belief, Fairfax Financial Holdings, Limited is a corporation organized

under the laws of the country of Canada, with its principal place of business in the country

of Canada. The citizenship of this entity would not destroy diversity. However, as set

forth below, Fairfax Financial Holdings, Limited has been fraudulently joined, so its

citizenship is in any event irrelevant.

       18.    One of the Other Defendants is “the Progressive company,” or as stated in

the body of the Petition “the Progressive Company.” On information and belief, there is

neither any legal entity with the name the Progressive Company (regardless of

capitalization or use of the article “the”), nor is “Progressive Company” or “the Progressive

Company” a registered trade name, “d/b/a,” or the like, for a formal legal entity. The

Progressive Company is thus: not a party, or in the alternative not a proper party, or in the

alternative a fictional party, or in the alternative a nominal party, or in the alternative lacks

the capacity to be sued, or in the alternative is otherwise a party or purported party which

does not have any citizenship capable of destroying diversity. However, as set forth below,

the Progressive Company has been fraudulently joined, so its citizenship is in any event

irrelevant.

       19.    One of the Other Defendants is “Progressive Insurance Company.” On

information and belief, the naming of “Progressive Insurance Company” as a defendant

may be because this is the former name of what is now a company named The Progressive




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Corporation.3 The Progressive Corporation is a corporation organized under the laws of

the state of Ohio with its principal place of business in the state of Ohio. The citizenship

of this entity would not destroy diversity. However, as set forth below, the “Progressive

Insurance Company” and/or “The Progressive Corporation” has/have been fraudulently

joined, so its/their citizenship is in any event irrelevant.

       20.    Plaintiffs’ joinder of the Other Defendants, to the extent the presence of any

one or more of them would destroy diversity, does not deprive this Court of subject matter

jurisdiction because no cause of action has been or can be asserted against the Other

Defendants on the allegations of the Petition, and they have been fraudulently joined. See

generally Brazell v. Waite, 525 F. App’x 878, 881 (10th Cir. 2013) (“Fraudulent joinder

need not involve actual fraud in the technical sense. Instead, it can occur when the plaintiff

joins a ‘resident defendant against whom no cause of action is stated’ in order to prevent

removal under a federal court’s diversity jurisdiction.”) (citation omitted); Slover v.

Equitable Variable Life Ins. Co., 443 F. Supp. 2d 1272, 1278-81 (N.D. Okla. 2006) (Payne,

J.) (finding insurance agents fraudulently joined, noting: “Many—if not all—of the claims

made against the non-diverse Defendants here are facially inapposite because Plaintiffs

cannot establish the necessary elements. In the complaint, the plaintiff must make at least

minimal factual allegations, either direct or inferential, as to every material element of the

claim.”) (citation omitted).


3
  See generally https://en.wikipedia.org/wiki/Progressive_Corporation (“The Progressive
Corporation is an American insurance company, one of the largest providers of car
insurance in America… Progressive was founded in 1937 by Joseph Lewis and Jack Green
as Progressive Insurance Company.”)
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         21.     There is no possibility of recovery against any of the Other Defendants, even

under a liberal interpretation of the facts and law. The Petition makes out a contractual

dispute wherein Plaintiffs suffered a bodily injury that he believes and alleges is covered

by the UM/UIM provisions of an insurance policy issued by United States Fire Insurance

Company. (Exs. 1-2.) Plaintiff and USFIC are proper parties and are diverse. As to certain

Other Defendants, the Petition states: “Crum and Forster is part of Fairfax Financial

Holding Limited, and is comprised of United States Fire Insurance Company, Crum &

Forster Insurance Company, and Crum and Forster Indemnity Company.” (Ex. 1, pp. 1-

2.) Being a “part” of something or “comprised” of something is axiomatically not a tort,

nor a breach of contract, nor any other legal cause of action creating the possibility of

recovery against “Crum and Forster” (referenced in the body of the Petition), nor the first

listed “Crum & Forster Insurance Group” defendant (referenced in the caption), nor the

second listed “Crum & Forster Insurance Group” defendant (referenced in the caption), nor

Crum & Forster Insurance Group, Inc. (referenced in the body of the Petition), nor Crum

& Forster Indemnity Company, nor Fairfax Financial Holding Limited (referenced in the

body of the Petition), nor Fairfax Financial Holdings, Limited (referenced in the caption).4

As to certain Other Defendants, the Petition states: “The [USFIC] Policy was sold,

marketed, or administered through the Redlands Group and/or Marketers…” An insurance

broker or insurance agent, however, is not a party to the insurance contract. Wathor v. Mut.

Assur. Adm’rs, Inc., 2004 OK 2, ¶ 8, 87 P.3d 559, 562. Simply being an agent (or “seller”



4
    Although it is apropos of little, USFIC denies these allegations are accurate.
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or “marketer” or “administrator”) is not a tort, nor a breach of contract, nor any other legal

cause of action creating the possibility of recovery against Redlands Group, the Redlands

Group, Inc., and/or Marketers. As to certain Other Defendants, the Petition states: “That

the plaintiff may have been covered under a policy of insurance with uninsured motorist

coverage under written [sic] by the defendants’ Progressive Corporation and/or Progressive

Insurance Company; and as a result may be entitled to obtain his damages from said

uninsured motorist coverage if such exists.” (Ex. 1, p. 2.) But the attached policy speaks

plainly: it is a contract between USFIC and Plaintiff’s former employer under which

Plaintiff seeks UM benefits.      (Ex. 2.)    Progressive Corporation and/or Progressive

Insurance Company are not mentioned in the contract. The plaintiff here has not made “at

least minimal factual allegations, either direct or inferential, as to every material element

of” any claim that, even though the contract states the policy is issued by USFIC, somehow

or another actually Progressive Insurance Company or Progressive Corporation are the

insurer or are parties to the contract or “may” provide coverage.

       22.    Even, though, if the Court does not agree that certain of the Other Defendants

have been fraudulently joined, it is solely the joinder of Marketers that would defeat

diversity. So long as Marketers has been fraudulently joined, which it has been, jurisdiction

in this Court is proper. “The joinder of a resident defendant against whom no cause of

action is stated is patent sham...” Dodd v. Fawcett Publications, Inc., 329 F.2d 82, 85 (10th

Cir. 1964).

                                             ***



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       WHEREFORE, USFIC respectfully requests that this action now pending against it

in the District Court of Oklahoma County, Oklahoma, be removed to this Court, that this

Court accept jurisdiction of this action, and that this action be placed upon the docket of

this Court for further proceedings, the same as though this action was originally instituted

in this Court.



       Dated this 11th day of June, 2020.


                                                 Respectfully submitted,


                                                  s/ John C. Lennon
                                                 Peter L. Wheeler, OBA No. 10531
                                                 John C. Lennon, OBA No. 30149
                                                 PIERCE COUCH HENDRICKSON
                                                  BAYSINGER & GREEN, L.L.P.
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                                                 Attorneys for Defendant USFIC




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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of June, 2020, I electronically transmitted the
above and foregoing document to the Clerk of Court using the ECF System for filing.
Based on the records currently on file, the Clerk of Court will transmit a Notice of
Electronic Filing to the following ECF registrants:

        Mark Shores
        Post Office Box 2955
        Oklahoma City, OK 73101
        Attorney for Plaintiff


I further certify that a true and correct copy of this Notice of Removal was mailed to Rick
Warren, Oklahoma County Court Clerk, 320 Robert S. Kerr Avenue, Room 409, Oklahoma
City, Oklahoma 73102.


                                           s/ John C. Lennon
                                          John C. Lennon




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